\\JcHARLoTTE TAYLoR an@ch/\EL ivl

Cas_e 9.:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 _Page 1 of 60

¢..._ _l.

|N THE C|RCUIT COURT OF THE
F|FTEENTH JUD|C|AL C|RCU|T
|N AND FOR PALM BEACH
COUNTYl FLOR|DA.

   

C|\§l@ACTlON
C|TY OF LAKE WORTH, F|orida, a F|orida
municipal corporation, CASE N?`)QG? CA g 1 3 9: @ 9 XXXX= HB
Plaintiff, Complaint to Foreclos l pecial
Assessments ode
v. Enforcement

Chapter 162

PHILL|PS,

Defendants.

 

Flon'da
3 Plaintiff
wm
corporation l §§ in Palm Beach County, F|orida

   

»"_, endant Charlotte Taylor(hereafter"Taylor’) purports to be the owner of real

pmper wted at 1121 South Federal Highway, Lake Worth, Florida, more particularly
my
described as follows:

Lot 14, Block 48, Addition No. 1 to Town of Lake Worth,
according to the Plat thereofl recorded in Plat Book 5, Pages
6 to 9, inclusive, in the Office of the Clrcuit Court in and for
Palm Beach County, F|orida (hereafter the “Properly”). l

Cas_e 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 2 of 60

L . }~`

5. On January 2, 2002, the City adopted Resolution No. 1-2002, levying a_ special
assessment upon the Property for nonpayment of waste removal and stormwater utility fees.
A certified copy of this Resolution was recorded in Officia| Records Book 13334 at Page 511

of the Public Records of Palm Beach County, F|orida. A copy of this Resolution is»~%ttached

to the complaint as Exhibit A. " §

6. On June 4, 2002, the City adopted Resolution No. 25-20§3

 

Defendant Mich

violation of Li" `ro- s provisions of the City of Lake Worth Code of Ordinances as described

in metzo

  

this Order provided that Defendant Phillips was to correct the violations by no
s
later th%$eptember 15, 1999. A copy of this Order Finding Violation and lmposing Fine is

attached to the Complaint as Exhibit C.

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 3 of 60

( . ll

9. A certified copy of the Order Finding Violation and lmposing Fine has been
recorded in Oft"icial Records Book 11334 at Page 544 of the Public Records of Palm Beach
County, F|onda.

10. The Order Finding Violation and lmposing Fine provided for a fine of $150.00

per day for each and every day the violations continued to exist after September 1 1999.

  
 
  
  

11. Defendant Phil|ips failed to comply with the above Order Find` o a tin and

lmposing Fine within the time period contained in the Order.

12. Accordingly, at a subsequent time, the Board e "ered§a Statutory Order

   
   
  
  
  
 
  
   
 

§

lmposing Fine/Lien. A copy of this Statutory Order lmposi~ e/L:en is attached to the
Complaint as Exhibit D.
13. The Statutory Order lmposing Fine/L' ' ll _ \ provided that Defendant Phil|ips
was to pay administrative prosecution cost 0}?@00 and a mandatory inspection fee of
$150.00.
14. A certified copy of

in Oft"icial Records Book 1

Florida.

    

41

adminis"`i`{ "wdrosecution costs of $207.00 or the mandatory inspection fees of $150.00 as
required§by the Orders. Defendant Phil|ips has permitted the property to be in violation

throughout this period of time.

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 -Page 4 of 60

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16. There is now owing and unpaid to the City of Lake Worth a total sum of
$421,950.00 plus interest, costs and attorney’s fees computed at the rate of $150.00 a day
in accordance with the Orders described in Exhibits C and D. There is further owing and
unpaid to the City of Lake Worth administrative prosecution costs of $207.00 and mandatory
inspection fees of $150.00.

17. On Apri129, 2004l the City of Lake Worth Specia| Master (hereinai

  
  

 

y§or failed to comply with the above Order Finding Vio|ation within

   

the time period§c""“ taine§§in the Order.

2\§" The Order Assessing Fine further provided that Defendant Tay|or was to pay

administrative prosecution costs of $337.23.

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 -Page 5 of 60

,»

23. A certified copy of the Order Assessing Fine has been recorded in Officia|
Records Book 17508 at Page 1782 of the Pub|ic Records of Palm Beach Countyl Florida.

24. Defendant Tay|or failed to comply with the above Code Enforcement Orders and
thus fines accumulated under these Orders. Defendant Taylor further did not pay the
administrative prosecution costs of $618.76 or the mandatory inspection fees of $1@0.00 as

required by the Orders. 1 Defendant Taylor has permitted the property to ation

  

throughout this period of time.

25. There is now owing and unpaid to the City of Lake“`WYithew§ total sum of
ii

erie or $100.00 a day

$105,800.00 plus interest, costs and attorney’s fees comput h`

    
   
  
  
   
  

 

in accordance with the Orders described in Exhibits E and ere is further owing and

unpaid to the City of Lake Worth administrative pro sts of $61 8.76 and mandatory
inspection fees of $150.00.

26. The violations of the City of

>§B ard authorized the City to foreclose on the liens in accordance with the

§

ection 162.09, F|orida Statutes.

  

2§’ A|though plaintiff does not know of any other specific real or personal Property

owned by the Defendants Taylor or Phil|ips other than that described in paragraph 4 above,

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 6 of 60

n , n

plaintiff believes that these Defendants may own other real or personal Property located in
Palm Beach County, F|orida, or elsewhere. Therefore, this action is also brought pursuant
to the provisions of Chapter 162.09, F|orida Statutes, to foreclose on the Code Enforcement
Orders, and thus plaintiff is requesting that this Court permit plaintiff to foreclose upon the real
Property described in paragraph 4 above, as well as upon any other real and p§§ersona|

Property owned by Defendants Tay|or or Phil|ips.

  

29. lt has become necessary for the plaintiff to prosecute thi§ rough the

undersigned counse|. Defendants Taylor and Phil|ips are obligated by Wew the provisions

 

Greenpo§i§ht Mortgage Corporation in the Circult Court of the Fifteenth Judicia| Circuit in Palm

Beach County, Florida, by Order dated July 18, 2005, the Court ruled that Taylor’s Fina|

Cas_e 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 7 of 60

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Judgment was not a lien upon the Property. The Order further provided that the City’s Code
Enforcement Orders described in Exhibits C and D had priority over Taylor’s claims to the
Property. A copy of this Order is attached to the Complaint as Exhibit G.

33. The above Order is a final order. Accordingly, the City’s priority over Taylor, and

the validity of the City’s liens on the Property, and that Taylor’s judgment did not b ome a

 

grant the following relief:

 
 
  

(a) Tai<e jurisdiction of this cause and the parties

’ l

§erty described in paragraph 4

     
   
  
   
   
  

 
 

(b) Adjudge that plaintiff has a lien on th
ofthe Complaint forthe amount of $323.00 plu , costs and reasonable attorney’s fees
superior to the rights of defendants and on claiming by, through or under them, and
require payment of this balance.
( c) Adjudge that plairL ,. ien on the real Property described in paragraph 4
of the Complaint and upon ’ er real and personal Property of Defendants Taylor or

Phil|ips, for the amount “f'l§§27,750.00 plus interest, costs and reasonable attorney’s fees,

  
   
 

 

atlv " prosecution costs of $825.76 and mandatory inspection fees of

§§

$300.00 su to e rights of the Defendants and all persons claiming by, through or under

them,,§gn; uire payment ofthis balance plus interest, reasonable attorney’s fees, court cots

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fe
and exp§ises;

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 8 of 60

L

(d) Enter an order permitting the foreclosure of the Property and of any real and
personal Property of Defendants, Taylor or Phil|ips, and order a sale of said Property in the
event that such Defendants do not satisfy the amount owed to plaintiff in this action, and
award a deficiencyjudgment against Defendants in the event the Property is not of suchient

value to satisfy the liens of plaintiff;

 
 
 
   

(e) Tax all costs of this action against the Defendants, and aw
attorney’s fees to the plaintiff;

(f) Grant such other and further relief as may be just ar§§eqiéi

TO ALL DEFENDANTS: PLEASE READ THE NEXT PA€ " CONTAINS IMPORTANT
lNFORMAT|ON IF YOU WANT TO DlSPUTE THE VALID| ~ t EBT WH|CH PLA|NT|FF IS

ATTEMPT|NG TO COLLECT |N TH|S LAWSUIT.

   

t 7 North Dixie
Lake Worth, F|orida 33460-3787
(561) 586_1631

Florlda Bar No. 181591

 

Case.9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 9 of 60

NOT|CE REQU|RED BY THE FA|R DEBT COLLECT|ON PRACT|CES ACT
15 U.S.C. SECT|ON 1692g, AS AMENDED

1. The amount of the debt is set forth in the complaint which is attached to this

notice.

to whom the debt is owed.

  

3. The debtor may dispute the validity of this debt, or any po onthe eof, within 30
theseth within 30 days,

   
  
   

days of receipt of this notice. lf the debtor fails to disp

the debt will be assumed valid by the creditor.

5. If the creditor named ite"F:Rin ot the original creditor, and if the debtor makes
a written request to the cr " ga City of Lake Worth, within 30 days of receipt of this
s . .
notice, the name andt§j§giress of the original creditor will be mailed to the debtor by

the creditor %i 5 of La%ve Worth,

   

  
  

waquests pursuant of this notice should be addressed to LARRY A.

%chw ATToRNEY, 7 North Dixie Highway, Lake wonh, i-'iorida 33460.

3

7. This communication is foi' the purpose of collecting a debt, and any information

obtained from the debtor will be used for that purpose.

..--_-. _.--. l °

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ouzs/aooa oosozzs? aoozoo:ssoe
PLEASE Recoizo Azin ne'ruizx To: °R IK 13334 96 0511

palm leach count norma
City of Lake worth ' y'
City Clerk's Ot‘ftce

i/ 7 .\’orth l):l.xi.o Highvay
Lake \~'orth, Fl. 33460-3787

v

1-2002

REsoLuTioN No. 1-2002 oF THE ciTv oF LAKE woRTH, FLORioA. LEinN
sPEciAL ASSESSMENTS AGAiNST cERTAiN PRivATE PRoPER'rv iN THE cn'Y F.
THE NoNPAYMENT oF wAsTE REMovAi_ FEEs owen 'ro THE ci'rY; PRO
THAT uNPAiD ASSESSMENTS SHALL BEAR iNTEREsT A'r TEN PERcEN'r (1 » 1
ANNuM uNni. PAiD oR A'r Fir-'TEEN PERcENT (15%) PER ANNuM AFTE .
(90) DAYs; LEinNG sPEciAL AssESSMENTs AGAiNsT cERTAiN ~

PROPERTY lN THE ci'rY FoR THE NoNPAYMEN'r oF sroRMwA'rER u t i'fY§EEs
owen To THE cnY. PRovioiNG THAT AssessMENTs si-iALL B§ARh st A'r
stem Pi-:RcEN~r (e%) PER ANNuM uNTii. PAio; PRowoiN§ FoR sPEciAL
AssEssMEN'r uENs suPERioR iii oieNnY 'ro ALL owen usu§§@cepr FoR A
LiEN FoR TAxEs; PRovioiNG sEvERABii.iTY; PRovioiN . EFr=Ec'rivE oA're.

  
  
     

   
    
   
  
 
  
 
  
  
   
   
   

WHEREAS. Seelion 12~19 of the Code of Ordinances
provb`es that the City Commission shall establish month -
and

Lake Worth. Flonda' .
te removal seiv‘ioes:

WHEREAS. the fees for waste removal ~ ( ' z,-ered to the properties listed below
have not been paid: and

WHEREAS, Section 12»21 of th C
such unpaid fees against the o
f

WHEREAS. Seotion 18
provides that the City Co§i\

lilllii\ii!l Dllt!ll|llfili

'and

'woRrH. FLoRioA. that

Liens for unpaid waste removal fees (WR) and stormwater utility fees (SW) are
~ ~~ assessed and levied by the City against the following described properties located
§ in Lake Worth Flon'da. in the following amountsl

l of€O

CaSe'. .' V'." 0 vi v vi '

summit vacuum

Pg. 2. Rm. 1_2002
NAME AND AoDREsS oF
EBQEEBIX_QMEBLS.)._

Vernon Whivker
622 South A Stneet
Lake Worth, FL 33406

First Star Bank Milwaulkee Tr
177010owan FLR 2"°100
|Nine. CA 92641-6057

Jomi s Amalia L.'l.ush
212 Nol‘!h C Street
Lake Worth, FL 33480

Antonlo & Carmen Rosado
409 North C Street
Lake Wonh. FL 33460

Ruth M. Schuber't '
802 South C Stl'ee!
Lake Wonh. FL 33450

Eslett Rui.z
7486 Cooonut Drive
Lake Worth, FL 33467

Sandra Vanterpool Etx
Yves Vanterpool H\W

14 south o street fe
Lake Worth. FL 3

     
  
 
 
  
 
 
  
  
 

PROPERTY CONTROL

38 43 44 21 151919021
N 53 Ft of Lot 2. Blk 191
Tovm of Lake Wonh

alkla 622 South A Street

3843 44 2115193 0060
Lot 6 Blk. 193

Town,of Lake Worth
a/k/a 810 Somh B Street

38434421150640060
Lot €. 8|\<64

Town of Lake Worth
a/kla 212 Nonh C Street

38 4344 2115130 0140
Lot14, Blk 130

Town of Lakeworth
a/k/a 409 North C S}r

§3 44 21 15 007 0100
0110. Bll< 7

own duke Worth
elk/814 South D Sireet

38 43 44 2115 073 0240
Lots 24 81 25, Blk 73
Town of Lake Worth
elk/a 215 South D Street

38434421151850220
Lots 22 & 23. Blk. 185
TownofLakeWonh
aIk/a 511 South D Street

  
   
    

MSE§SMENI

$111.20 WR
5129.20

 
     
 
   
    
 
   
   

$145.35

$111.20 WR
$129.20

$ 95.32 WR

5111.07

$125.10 WR
$145.35

$111.20 WR
5129.20

$1 17.40 WR
$138.60

 
 

,of 60

 

NAME AND ADDRESS OF
E.BQEEBILQWNEBLS.)_

Fr~ont Row Renta|s !nc.
1402 Sou!h Fedet~al l-iwy
Suite 43 _

Lake Worth, FL 33460 5726

Los Amigos Auto Sales inc
1802 Dixie Higtmray North
Lake Wolth. FL 33480

Sarneer Saadeh
4783 Blue Pines
Lake Worth, FL 33463

Barbara E. Gregory Estate '

201 Nonh E Sfree!
Lake Wor!h, FL 33450

Juua Tabureuo '
5 Ashwood Plaoe
Parsippany.` NJ 07054 2213

Andrew J. Urbanowicz
501 North Ridge Road
Lake Worth, FL 33462

Kenneth J. Bosted
924 North Federa| _
Lake Worth, FL 3 ~ "

 

Bankers Trust Company, Tr
9275 Sky Park Ct., Floor 2
San Diego. CA 92123 4386

 

m \

1/22/2018 Page 1_2

m 0513

Pg. 3. Reso. 1.2002

PROPERTY CQNTROL

N.Q.A§§E§SMENI

38 4344 21151730070
Lots?&&(Lessw$FtRDR\W)&
Lots9& 10(LessW10 FtRD R\W).
Blk 173

Town of Lakoworm

a/k/a 516 South Dixie Highway

3843`4415160430150

Lot 15 & Lot 16/LessW 10 Ft/.
Blk43

North Lake Worth

alkla 1802 Nonh Dbo'e Highway

 
   
   
 
 
 
 
 
 
   
  

a/k/a 1232 North Federa| Highway

$107.40 WR
5114.15

   

ss 43 44 34 02 000 0140 sikoro wR
Lot 14 §

Amended Plat of Laoona Court “\:\;5114. 15 ¢....
a/k/a 1624 souzh douglas §
- 36 4a 44 21 15 062 os§@i 5222.40 wR § ~
S1OFtofL0131&3 r_:

. s 258.40 g
- ==¢"
$125.10 WR §
&E
s 145.35 g
$109.88 WR
5 127.88
8434421152880050 $111.20WR
Lot 5 (Less W 5 Ft North Federal
Hwy RD RIW) B|k 288 $ 129.20
Town of Lake Worth
elk/a 922 North Federal Highway
38 43 44 27 01 048 0140 $139.00 WR
Lot 14. Blk 48
Addition 1 to Town of Lake Worth $161.50
a/lda 1121 South Federal Highway
38 434421 15 3660070 $139.00 WR
Lot 7. E of Federai Highway
/LessW$FtI B|k366 5161.50
Town of Lake Worth
alle 1228 &1224 North Federa| Hwy
38 43 44 21 15 366 0080 5166.80 WR
Lot 8. Blk 366
Town of Lake Worth $ 193.80

of 60

 

 

8 Pa _e 13 _of 60

 

Case

m 34 MOSM

Pg. 4. Reso. 1-2002

NAME AND ADDRESS OF PROPERTY CONTROL
EBQ.EEBIX_QMEBLS.)_ NQ..AS§E§§ME.N_.T
Kathryn M. Berfy 38 434421 15 062 0311 $125.10WR

8845 Andy Ct.. #D E 90 Ft ofLots 31 & 32. Blk 82
Boynton Beach. FL 33436 Town of Lake Worth 5 145.35

2450 alan 301 North H Stneet

    
   
   
   
  
  
   
   
  
  

38 43 44 21 08 002 0030
Lots 3, 4, 21 & 22. Blk 2
Hillcmt-Lake Worth
alk/a 1711 Lavue Avenue

Stott Rogan
~1711 Lavue Avenue
Lake Worth. FL 33460

   

   
    
  
 
  
   

Geneva A. Bervine Esme 621 38 43 44 34 02 000 0480
,_ Latona Avenue Lots 48 8 49 Llil§_$§d
55 Lake Worth, FL 33460 Amondod Plat of Latonn $ 113. 05 ,
z aIk/a 621 Latona Ave
. 3 cram chapel 61 the AME ss 43 44 34 02 oo 6125.10 wR
~ g church me ms 36 6 37
__‘ PO Box 339 = 3145.35
§ Lake Wonh. FL 33460
§ Gulfsrream Horel L'ro 6107.40 wR
§ Prtnrshp
200 Roosevelt Building $114.15
609 Penn Avenue
Pmsbu:gh, FA 15222 3201
John W. Butief 3 44 21 15 215 0150 $165.80 WR
731 South M 50’991 0116, Blk 215
Lake Worth, FL 334 own of Lake Worth 5193.80
elk/a 731 South M Street
Kenneth E. Labonte 38 43 44 21 15 285 0050 $111.00 WR
Lori R. Labo», Lot'$, Blk 286
6134 Linton Town of Lake Worth $129.20
alkla 918 North M Sd'ee! '
38 43 44 27 01 090 0110 5 97.30 WR
Lots11&12. B|k 90
Addition 1 to Town of Lake Worth 5113.05
elk/a 1823 South Palmway
§ .Whitemol'e Tr. 38 43 44 34010000130 5107.40WR
»1§1533 south Rauroad Avenue l.oz 13 ~
Lake Wonh, FL 33460 Osbome Addition Amendod 5120.90

a/k/a 1533 South Railroad Avenue

 

NAME AND ADDREss oF
P.BQEEBJI.QLMEBLSL_

Fred Deveaux
1528 Vihngheld Street
Lake Worth, FL 33460

David A. McNulty
509 Wright Drive
Lake Worth. FL 33461

Adopt A Famiiy of the Palm
Beaches. lnc.

2330 South Congress Ave.
Suite 10 _

West Palm Beach. FL 33406

John Shonkwiler
Sheny Shonkwiler
333 Davis Road

Lake Worth, FL 33461

Tu Quoc Pham
1210 S°Avenue South
Lake Worth, FL 33460

Meriey L. McCrey
1221 15“ Avenue South
Lake Wofih. FL 33460

The aforesaid liens for unpaid

exclusive of other unpaid

-W`/SS250.3 FtofLotZ. Blk34

m °515

Pg. 5, Reso. 1-2002

PROPERTY CONTROL

NQ..A§§E§§MENI
38434434010000640 $111.20WR
Lot 64
osborne Addition Amended 5129.20
alk!a 1528 \thield Street
38434428160000260 S111.20WR
Lot 26
Lake Shofe Villas $129.20
allda 509 Wright Drive

38 43 44 21 02 034 0021

Sub of
a/kla 1712 2"° Avenue North

 

 
 
 
 
      
  

as 4a 44 21 15 oss 0010 ,151.20 wa

Lot 1, elk as ’ 1

Town of Lake Worth $129.20

a/kla 716 3" Avenue

384344211518 d“é" sizs.iown

6 3145.35

s125.10 wR
3145.35

15" Avenue south

   

-S

    
  

   
 
 
   
       
  
    

Wremoval fees and storrmvater utility fees are not
l fees or stormwater utility fees owed to the City at
ution. but represent an accumulation of such fees which

Page 14 of 60

liRllilNAl DGUI|MENI

in the opinion of the C'z Cornr§i' on should be made a matterof public record The above
amounts are owed to at the time of the adoption of this resolution. and are
` se in amount as future billings fall due.

 
 
  
   
    
  
 

id liens remain liens. co-equal with the lien of state. oounty, district.
, ' ` §s. and superior in dignity to all other existing and future liens, titles and

l ,l paid. The aforesaid waste removal liens shall bear interest at the rate of ten
l per annum from the data of delinquency (thirty (30) days aiter the date of this
on . sher ninety (90) days from the date of del'mquency, these liens have not been
. zia rate 01 interest often percent (10%) per annum shall increase to fifteen percent
' t per annum ot the unpaid principal balance The aforesaid stormwater utility liens

law interest at the rate of eight percent (8%) per annum from the date of delinquency
i irty (30) days after the date of this resolution).

m The aforesaid assessment liens are to be recorded in the ofiice of the Finance
Director of the City of Lake Worth, and the Finance Director is authorized and directed to
collect the same in the manner prescribed by iaw.

$ggign_¢;, if any provlsion of this resolution or the application themf to any person or
circumstances is held invalid. the invalidity shall not affect other provisions or applications
of the resolution which can be given effect without the invalid provision or application and
to this end the provisions 01 this resolution are declared severable.

 

Cas

~FLSD Docket01/22/2018 Page 1 of 60

. ’ BCII(' ‘4 NGE0516
Dorot v 1. Hilkon, Clorli

Pg. 6. Reso. 1-2002
§ggtiqg_§, This Resolution shall take effect immediately upon its passage

The passage of this Resolution wes moved by Commissioner McKinnon. seconded
Commissioner Egly. and upon being put to a voto, the vote was as follows: _

   
  

Mayor Rodney G. Rornano ' AYE
Commissioner Soott Maxwell AYE
Commissioner Colbum H. Mci<innon AYE
Commissioner Gary Bo Allan AYE
Commissioner Joe Egly A¥E

fha Mayor thereupon declared this Rosolution duly passed and adopted on -
day of January. 2001.

/Rodney G. Romand.l\llayor

ATTEST:

@Lté@_s' 4 16 - édlr/.S':
_ B rbara L. Eberiy. Acting C' Clerk

/

   
   

Submitted: January 2. 2002

Prepared by: Larry'A i<ams. Esquire
7 North Dixie Highway

Lake Wodh. FL 3346'~

lilillililil DB!}Uiilflii

 

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01/22/2018 Page 16 Of 60

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was/nce nunez ensuing
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muse R:com) A.vn amax ro= 09 m mass ns 1
Psll Bolch Count
City of Lake Worch ¥, Flofidl

City Clerk's 0ffice
7 North Dixie Highway
Lake warth, FL 33660-3781

fn
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l

2$-2002

REsoLunoN No. 25.2002 oF me cmr oF LAKE woRTH FLoRcoA LEW%:§
sPEcmLAssEssmrs/as.ms‘rcsmmnrnwms FRoPERTvmmEcmr

ms _NoNPAmEN'r oF wAsTE REMoVAL FEr-:s owen To THE crm mo
mTu~PmAassssuEmssHALLemlmEREsrATmPencem( _
A)muu um mo oRAT F\F'rEEN PeRcENT (15%) PERANNuM A __¢ '
(eo) oAYs; LEvaG sPEc\AL Assessuems AGNNST camps
pRoPsR'rvlnmscnYFoRmENoNpA~/\Emor sToRMWAT _
owEo'roTHEcrrY; FRovlomG mr Assessu£m‘ssHALL »

aGH'r PERcENr am PER Auuuu uNm. PA¢o. Paovlpl, § mg sPEc¢AL
Assessmsm mens suFERlon m mem ToALL omER u ,_ §;x.csrr Fon A
usn Fon TAxEs. PRovlomG s£vERABlerY; mow . . EFF`§¢TNE oATE

wHER£As.s¢c_smaz~w¢fmcoa¢ofom , Lake.wmm.
pmvidestia\mo€itycommissionshahstabfah ~= _
and

    
  
   
 
    
   
  
   
   
 

 

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WHEREAS. the fees forma -

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MEREAS.SoctioMZ-Z ' _` dodvancespmvidesformeassessnamof
sud\unpaidfsesegainst -3" served;md

 

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paid mwhmu&utoumidw massade

. . THEREFORE. BE IT RESOLVED'BV THE CUY COMM|SS|ON OF .THE CUY
LAKE WORTH. FLOR!DA. that ~

Uamforunpeidwasarmncve|feos(WR)andstamwateruumyfoes(Sw)am
haebywesaadmd\evhdbyhecityagahswafowngdesabedmoperiesbcawd
in Lakewcmh F|otida.mmefc&\owi\gamums

 

Case 9:18-0_\/-80078- WPD Document 1- 2 Entered on FLSD Docket 01/22/2018 Page 17 of 60
m 138§!5 |¥GE 1531

P§. 21 Reso. 25»2002'
NAME mo Aoonsss 01= Pnopam`v coNYRQL
EBQEEBII_MR{§L §.L§QSLQE§QB|EDQN

_ N.Q.A§§ESSMENI

    
   
   
 
 
        
 
   
  
  
  

  

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LakeWorth.FL33460

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A|tamonte Spmga FL 32716

   

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LakeWorth;FL33480

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1104 South J Street~
Lake Worth._ FL 33460

 

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MayorRodneyG. Rcmano
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Case_ 9:18-cv-8OQZ§;)ALP.EL Document 1-2 Entered on FLSD§Q£M§P;\YJ£A;Q§,§;,£@Q€ 21 of 60

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LNEVMMRM

» ORDER FIRDI!|G VIOLATIO'N AND IKPOSING FD€E

mg NO. 99N-00321
ltc-me and Address of Service:

mcneal n phillips
2290 Sunset Avenue 114
Lake worth. FL 33461

In regard to:

hot 14, Block 48, ADUITICN 111 TO 'HIE m OF LAKE WDHI'H, according to
the Plat of THE PAL\| mm FARHS mm PLAT NO. 4. recorded in the
public records of palm Beach County, Flor:lda in Plat Book 5. Pages 6-'9
inclusive a/k/a 1121 Soutd Federal Rig!nvay.

RB= violation of Code Section(sl =

SHU\ 104.2.2LICKKSB RBWIRBD FOR RRNTAL PROPRRT`!
HCRAB 104.1.1 & 105.GPKRHITS, INSPB(H'IUS

B@RB 104.1.1 & 105.6¥22!¢!1'1‘8, IRSPEC!'IGNS

SHC 302.6!1'1'€!1¥|| FACILI'I'IFS

SHC 3Q4HINM RBQUIRMS FUR KLE(.'['RI(IL SYS'!'E!\€S§
SHCA 307.4CAR.B OF PRB(ISBS el

    
     
 
 
   
  
    
   
   
    
    
    

This matter was heard at a public hearing before t
08/26/99. after due notice co the violator(s) and t
having beard testimony under oath. received ~
argument of counsel (if aoy), makes the toll "-INGS 09
PACI‘.‘ .C¢IICLUSICIHS OP' LAW and ORDRR=

I. PINDINGS CF FACT

1. The owner(s) of the above descr:lM » " y is(are) :
mcneal n Phillips. hereafter
violator-(e) .

2. The violator(s) was (were)
and hearing under PS 16
to correct same. The
within the allowed t

noticed of said violations
, 1 alvere) given reasonable time
' iled to correct said violations (e)

 

3. That: the above

1 Property was in violation of those
sections of the

. e Worth Code as stated above.

4. The City of

incurred costs in the ammmt of $,§g[]-_g_p
in successf

curing this case.
II. CDNCLUSIUS 0¥ ‘»

 
    
  

1. The ~ worth code Enforcement Board hereby finds the violator {s)
guilty lating the above referenced code sections.
2. finder a ciorn 2-691¢) of the Lake worth code of Ordinances and

62.012) the city or Lake worth is entitled co recover all
incurred in successfully prosecuting this actien.

   

-pagelofz-

 

 

11334 _
m nunn a
III. man m“’mm" '

tt is th Mo£ thisBoardt.hattheo¢oe.r\

Hichael M Phillips comply with those sections et the

Lake worth City Codels) listed above, by corz§cting each and every
violation specifically listed by 3:00 pa on /|S/qq -

Case 9 18-cv-89078-WPD Document 1-2 Entered on FLSDo%ocket Ol/ZZ/ZOé§sP-age 22 of 60

rt Richael H Phillips, do(es) not comply by the date

and time specified or once again violates the code section(s) as
listed above following the time set for compliance herein, said
owner(e) shall pay a fine in the amount of $|50 -OD per day for
each and every day the violation (s) continue to exist.

If a finding of violation has been nude as provided in Section
162.09,Florida Statutes, a hearing shall not be necessary for
issuance of the order inposing such a fine. THE BURDRN SHALL RBS'I"
UPQ|'I¥BUNHBR(S) NWABMIGNDBTKRHINBWHFIERR
’I.'HB VIOLATI(H(S) lms/sz BKEK BRU{KBT INTO mLIARCB.

1a addition to the daily fine set forth above, you are hereby
ordered, pursuant to section 2-69(<:) of the City of Lake worth
Code and chapter 162 of Plorida Statutes. as may be amended,
pay prosecution costs to, the City of Lake worth in the amo

._o__g_. This amount is dueandoviogas of the d
of this Order.

  
   
   
 
 
  
 
 
  
 
 
     

The Board further orders Hi¢:hael M Phillips to make v
the property found to be in violation available for,,manda ry
inspections as red in Section § 9.4 f the goityo» = -
Worth Code on and »
the mandatory $150.00 inspection fee.

III. RECOHDING OF OHDKR
The Code Enforcement Board Secretary is - 0
record a certified copy of this Order ' '
of Palm Beach County and any other v
such order shall constitute notice t
successors in interest, or assigns
real property, and the findings
the violator(s) and. if the vio t'

   

     
  
  
  

t .be binding upon
,_ concern real property.
- in interest, or assigns.

  

vnorr_n ' 'e nigrmay

   
  

Lake W.°rt.`h, FL 33460
(407) 586-1652

 

 

hamman mae

   
  

       

 

i»» __ CL _____' - 1_

vaoria Kimberly, Board. Secretary
1 HEREBY CBRTIFY that a true and correct copy of the above

forgoing PINEINGS OF FAU`. (XZNCDUSIQ¥S OF LAW, AND QR.DER has been

furnis ed by U.S Hail to Michael H Phillipe,
this day of 1993

 
 
 

' ly. Board Secretary
7 North Dixie Highvay

Lake Worth, FL 33460

(561) .586-1652

-pagezofz-

 

 

 

Casr 9:1

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WS'WPD Document 1-2 Entered on FLSD Docket 01/22/2018 Page 23

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lllzal'v‘::* cmr or mm nom. nonm.

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Gnte l¥o. 99N-00321

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lichael M Phillips |-|-l.." v "-

2290 smec Avenue 104 ."'-'-'."'.

Lake Worth, FL 33461
m RHGAR.DS 'IU:

1121 5 Federal Hy
Lake Worth, FL 33460~5243

This matter was heard at a public hearing of the Code Enforcement
Board on oa/zs/ss, after due notice. ar. which time the ward neu-di
testimony under oath, received evidence, and issued its FINnIBGS »'
COHCLUSIORS OF LAW, AND CRDER, which was reduced to writing -~
furnished to Michael N phillips by mail on ah 133 .

Said order required you to take certain corrective action -»

speci iled date. as me specifically set forth in that orde`
___Sj__$%i_‘l_i_-
An n ioavic of um-cmm.unco dated glu,'l§g bag by

the Code lutpector. which Affidavit certifies un oath t he required

corrective action was not taken by the specified date:_as ordered.
Accordingly, it having been brought to the Board'e"&a tention that

you have failed to comply by the date specified ‘ s "d-` rder. it is

  
    
   

   
   

herebyz
ORDERBD that Michael l Phillips pay to the v Lake
worth a FINR in the account of $ 150.00 w r for every

 
 

day in violation past q /l$AQ. which is
said Order. for the property known as=

     
    
 
 
 
   
      
    
   
 
 
 

hot 14. Block 48. ADDITIQN h 1‘0 `
the ¥Lot of 1113 FAH! BEACH PARHS ~
public records of Palm Beach v '

` " LAKE HORTH. according to
m'r NO. 4, recorded in the
rida in plat Book 5, Pages 6-9

AND an ANXN!STRATIVB ?RUB
fee of 5150.00 for mandator
the above case.

A certified copy of t
of Palm Beach County,
against the above-des
property owned by t
Florida Statutes.

.g_n__ along with a
’ctiono which have been assessed for
will be recorded in the public records
and shall thereafter constitute a lien
-roporty. and upon any other real or personal
r(c) pursuant to Sections 162.08 and 162.09
amended and Section 2-69(d) of the Lake Worth

§§ 1¢ __1:.\": day of&_¢L._&,¢-njs. ac Lake worcv.

valm Beach CM§¥. Florida.

 
 
 
  

CI'I'¥ OF

 

Chairperoon. Code orcunont' Board
7 North Dixie liighoay

Lake Worth, Pl 33460

(561) 586-1652

 

 

 

 

:ACCEBE:
`\Secretary, Oode Enforcement Board
\ .

\

! hereby certify that a true and correct copy ot the foregoing
Order has been furnished Michaol ll Fhillipa, by U.S. `
bull this 333,_ day ot§_¢£-é_._._ 1935_.

 

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of 60

 

CaSe 9:18-Cv-80078-WPD Document 1-2 Entered on F:LSD Docket 01/22/2018 Page 24 of 6

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CFN 20040339152
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l l
CODE ENFORCD{ENT ORDER nn inch County, honda
Dorethy ll lilkn, clerk d C°m

C|TY OF LAKE WGRTH. FLORIDA

ORDER FINDING VIOLATION AND
DENYING MUI'ION m RDCUBE AND

WM

   
   
 
 
 

CITY OF LAKE WORTH,

Peti!ioncr,

x¢: violation of. chA 307. 42 (2) -
LANDSCAPE MAm'r£NANCB, szc 2321
PRomnmao mcs MA‘muAL. chAs -»»
nooFs...Facloau mmswrmw
-aun.omo MAn~mzNANcs. chA v» n
the city acme wonh.

". .@ ,SHCA307.4.2(4)- .
Y{E)` CBS,LW?EZ$.Z!.O?.Q!(D)Z-
' ' ',TREA'IMENT SHC305.3-
-~ 105.-6 MPECHONS, SHCA|O].G
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c 3343-44-21-01-043-0140

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Wonh,moccotdmceudth€hxptel&z,notid¢$mu¢es,hnhc¢dm¢imonyndtc
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Booktims/Pagems Page 1 of 3

 

 

Case _9:18-cv-80078-WP13" Document 1-2 Entered on FLSD Docket 01/22/2018 Page 25 of 60.

l. TheRespondem,CHARLOTTETAYLOR,wpreeematthebe¢ing,md
therewaaa|indingofpmpenetioe. §

2. TheCityCodeInq>ecwrtesti£od\omdpmducedphotop\phsof\he
3. Ramdm!madeaMmiontoReo\nemdaMotiontoDimiu.

M_QEME

Rupeodem il in viohv'on ofSHCA$MA.-NZ) LANDSCAFE
SHCA 30'7..-42(4) LANDSCA!E MAIN'!'BNANCB. LWZC 23.2|0702(BJFENCB.
23.21..0702 (D) 2- ?ROHIBITBD FENCB MATBRlAL, SHCA 305.14 - '
TREATMENT, SHC305.3- ROOFS,FBC 104..-11 PERMII'SWHENRBQU!RED§ n
I!‘ISPECTIONS,SHCA!O!.G-BUI|.DNGMANI'DIANCE.SHCA$°SA 1'
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DoNE AND ordman wis 29* day oprril. 2004.

CITY OF LAKE WORTH
CODB ENI"QRCEMENT

Specinl Master

 

 

 

 

Book17103/Page1777 Page 3 of 3

 

CaSe.Q:lS-CV-SOO?S-WPD Document 1-2 Entered on FLSD D?i]ii)d‘i“?lln€i”ii?i€l;]§ 60

CF.~ 2004®524906 '_j

OR BK 17508 PG ¥'782
RECDRDED 09/15/2094 11:37 :24
Flln Beach County, Florida
borothy l~l Hilken, Clerk of Court

-`

CODE BNFORCEMENT ORDER
CI'IY OF LAKE WORTH, FDORIDA

ORDER ASSESS[NG FINE
AND ORDER DENYING MOTION TO STAY

 

  
 
  
   
   
    
   
   
   

CITY OF LAKE WORTH,

Petitioner,
Case No. CE 0403025 5

CHARLO'I'I`E TAYLOR.
Respondent.

/

§ ENB, sHCA 307.4.2 (4) -
ENCES, szc 23.21.07.02 (D) 2 -
0TEC'HVE TREATMENT, sHC 305.3 -
`,FBC 105.6 - INSPECI'IONS, SHCA 101 .6

LANDSCAPE MAINTENANCE, LWZC 23.21
PROHIBITED FENCE MATERIAL, SHCA t

- BUILDING MAINTENANCE, SHC
the City of Lake Worth,

 

Address:
;¢,.rth, Florida

Lega! Descn'ption " TO TOWN OF LAKE WCR’I'H LT 14 BLK 48
@%inted by the City Council to hear code enforcement cases for the City
ce with Chapter 162, Florida Statutes, has heard testimony at the Code
on the 29th day of Ju!y, 2004, and based on the evidence and testimony
g FINDINGS OF FACT, CONCLUSIONS OF LAW, and ORDER are hereby

The Special Master
of Lake wonh, in `W`
Enforcement '

    

FINDINGS OF FACI`
< 1. The Respondent, CHARLOTTE TAYLOR, was present and testified at the hearing

2. There was a finding of proper notice.

Book17508/Page1782 Page 1 of 3

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Case 9:18-cv-80078-WPD Document 1-2 Entered UFVFLSD Docket,01/22/2018 Page 28 of 60

v /_

3. ` The City presented evidence regarding the violation
4. Michael Phillips also testified at the hearing.
5. The Respondent, CHARIDTTE TAYLOR, Hled a Motion To Stay.

CQNCLUSIONS OF LAW

Respondent remains in violation of Section SHCA 307.4.2 (2) - LANDSCAPE
REQUIREMBNTS, SHCA 307.4.2 (4)-LANDSCAPE MANTENANCE, LWZC 23.2 0 § 2 (E)-
FENCES, LWZC 23.21.07.02 (D) 2 - PROHIBITE.D FENCE MATERIAL, SH 9 .14 -

  
   
     
   
      
 
   

PRoTEcrl\/E TREATMENT, sHC 305.3 - RooFs, FBc 104.1.1 _ PE § ' N
REQU[RED, FBC 105.6 - INSPECTIONS, SHCA 101.6 - BUILDING MAH\§"' CE, SHCA
305.4 - MEANS OF EGRESS of the Code ofOrdinances of the City of Lak ` w
QLQEB
lt is the Order of the Code Enforcement Special Mast Respondent, CHARLO'ITE

'I`AYLOR, shall immediately comply with Section
REQU]REMENTS, SHCA 307.4.2 (4) ~ LANDSCAPE
FENCES, LWZC 23.21.07.02 (D) 2 - PROHIB
PROTECTIVE TREA'I'!V£ENT, SHC 305.3 "
REQUIRED, FBC 105.6 - INSPBCTIONS, S ¢
305.4 - MEANS OF EGRESS of the Code

.4.2 (2) ~ LANDSCAPE
CE, LWZC 23.21.07:02 ('E)~
’ MA'I`ERIAL, SHCA 305.14 -
C 104.1.1 - PERMI'I`S WHBN
6 BUILDING MAINTENANCE, SHCA
ces of the City ofLake Worth,

A fine of two-thousand-five- ars (52500.00) is hereby assessed for the violation
that has existed. The fine is impo » od from the 5th day of]uly,2004, through the 29°‘ day

ass§%ssed three-hundred'thirty-seven-dollars and twenty~three~oents

Respondent shall § §
(3337.23) for mmmci weis

   
   

‘ .¢ § one recorded, shall constitute a lien against the property of the original amount upon
/ § e relation existed and upon any other real or personal property owned by the Respondent,
y\FrS _ Mhapter 162, Florida Statutes for the original amount.

§ Upon complying, it is the responsibility of the Respondent to notify the Lake Worth Code
En orcernent Clerk at (561) 586-1652 to request a reinspection of the property

Book17508/Page1783 Page 2 of 3

Ca§e'Q,:lS-CV-SOO?S-WPD Document 1-2 Entered on FLSD Docket 01/22/2018 Page 29 of 60

DONE AND 0RDERBD this 29“' day ofJuiy, 2004.

CITY OF LAKE WOR'I`H
CODE ENFORCEMENT

 

  
  
   

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oou~rv oF PALM eEAcH ) SS
c:rY oF LAKE womH )

  
 
  

   

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fn Witness whereef. l" : : rennie set my hand and

affixedtheofficlal seal QCWM Lal¢Worth. Florida.
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Book17508/Page1784 Page 3 of 3

_Case 9:18-Cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 30 of 60

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§_ .

‘-` ~'~:~T`l w
___1___1.=‘-_.=31."\. l
§lU s lN THE C|RCU|T COURT OF THE
_i_ -‘_ § -L',;}C_:J l FIFTEENTH JUD|C|AL ClRCUlT lN
§ '1 ' ` AND FOR PALM BEACH COUNTY,
§ ' FLOR|DA.
§ 1°" i"g \' [__'rcpr\\l§l'
‘- ' ‘ ' CASE NO. 501999 CAO10548 AN
CHARLOTTE TAYLOR,
Plaintiff,
v. '
GREENPO|NT MORTGAGE

CORPORAT|ON, et al,

Defendants /

ORDER REVOK|NG AND RE C|NDlNG ORDER DlRE ..
SURPLU FUNDS' DlRECT|NG PLA|NT|FF NOT
CHECK AND TO RETURN SUCH CHECK TO h
D|RECT|NG CLERK T¢ D|SB RSE SURPL -\
WOR

 

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ro THE lTY oF LAKE

 
  
   
   
   

 

 

 

TH|S MATTER came before the ly 13, 2005, on an evidentiary hearing

upon Plaintiff, Charlotte Taylor’s §, Entitlement to Surplus Funds, and the Court

having heard testimony of the: § Charlotte Taylor, Defendant, Michael Phil|ips, and

  
  

of the City of Lake Worth, d having received documentary evidence from such parties,

and having come be? f e Court upon the City of Lake Worth’s oral Motion under Rule

  

akes the following findings:
§§ The Order entered by the Court on June 16, 2005, directing the C|erk to disburse
any remaining funds in the Court’s registry to Chariotte Tay|or was entered in error and was

void in that the Order was entered without an evidentiary hearing and without any hearing

or notice to the parties

. CQS€,S}_'/lS-Cv-SOOD-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 31 of 60
. \' ,_/ ` ' _

/ ' .
/' v v

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// 2. The City of Lake Worth recorded in the public records certified copies of Code
l Enforcement Orders against Michael M. Phil|ips on September 7, 1999. and on
October1, 1999.

3. The property that is the subject of this action was titled in the name of Michael
Phil|ips on September 7, 1999.

4. By virtue of the provisions of Section 162.09(3), F|orida St Code

 

Judgm t § Plaintiff, Charlotte Taylor, did not become a lien upon the subject property.
_ z ,/

____, bit nt§riorsl lnc. v. Fostogk, 721 So.Zd 1236 (l-'la. 4th DCA 1998); Dyer v. Beverly
& Trttle P.A., 777 So.2d 1055 (Fla. 4th DCA 2001).

 

9. The City of Lake Worth has prior liens upon the subject property and is entitled

to the surplus funds before the record owner of the property. United States v. Sneed. 620

 

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Ca§e 9;/1'8-CV-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 32 of 60
/' "" g v
//
/ So.2d 1093 (Fla. 1st DCA1993).
Based upon the above findings, it is hereby ORDERED as follows:
1. The Order entered by the Court on June 16, 2005, directing the C|erk to disburse
any remaining funds in the Court’s registry to Charlotte Taylor is hereby revoked and

rescinded

    
   
   
  

2. Plaintiff, Charlotte Taylor, is directed and ordered not to cash the orn the

Clerk & Comptroller, disbursing the remaining funds. Plaintiff, Charl€gtt fler, is further
ordered to return such check to the Court or to the Clerk.
3. The City of Lake Worth is entitled to the rem “r§plus funds after the

payment of $53,000.00 to Greenpoint Mortgage C

day of July 2005.

  

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Circuit Jud§ia`?:i~

 
  
 

`”s on the attached service list

Case`Q:lS-Cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 33 of 60

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/ ““ »

/ Service List

d$"

Echevarria & Associates, P.A
P.O. Box 25018
Tampa, F|orida 33622-5018

  
  
  
 
 
   
  
 

Michael M. Phil|ips
c/o Man'orie Cneover, Esq.
140 Paddock Lane
Greenacres, Florida 33413

Charlotte Taylor
P.O. Box 3514
Boynton Beach, Florida 33424

Michael Phil|ips

c/o Donald Appignani, Esq.
4300 North University Drive
Suite D-106

Lauderhill, Florida 33351

Maria Granja
129 Saratoga Blvd., East
Ro'yal Palm, Florida 33411

Palm Beach County

c/o Denise M. Nieman, Es§g;“
County Attomey
301 North Olive Avenue
Suite 601
West Palm Beaph, Flo§da 33401

 

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 34 of 60

t r -» ' ..

lN THE ClRCU|T COURT OF THE
FIFTEENTH JUD|C!AL--ClRCU|T
|N AND FOR PALM BEACH
COUNTY, FLOR|DA.
ClVlL ACT|ON.

    

ClTY OF LAKE WORTH, Florida, a Florida
municipal corporation, CASE NO.

Plaintiff, . Com§gnlzgp'

1_ Assessment§ nd Code _
v. ' Enforce@ent `® ers 41nder iii
Chater1'A __ ,, l

       
 

cHAF'zLoTTE TAYLoR and MrcHAEL M.

 

 

 

 

 

 
 
  

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Defendants rt _`:
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ANSWER mo g
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s ' o
l an Michael i!I. Ehilli.ps, jin business providing safe and 'w:
efferda.ble housing to hip c, in competition wi th other landlords _

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In answering this su_'..~_.

 
  
 

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f action" as besides its meritless neture; it
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vs.nts and interfere with ray nearby residence (:-tt 2520 -
iv'e in thc sane city of jurisdiction.). There i-s ne

as I 511 the sole owner cf this lot, upon which there rs

 

   
 

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'llhc. criminal ploy of the sub-state plaintiff here is to gamble for a
court judgement he can then collect from {es l own; inexha.usti.ble

'\.‘.‘r?us'lzl rionies),.....,a.nd he conscioust perpetrates this crime after already
trying to "ou.t-source." my residential r.~.ortgage- to non-citizen interests.

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Case 9:1850v=8_00]&-WE0 Document 112 Enterec| on FLSD Doc»ket._01/22/2018 Page.35 of 60

-'-;»

 

As contrasted with civil ch iccs., all crime _s can be creventeo....but
When un-pr'e secuted as hhs occurred since 1998, the corruption cf e.
(s_ub-)_, culture of cri: ec (whitc-_ =ill:).r)- v-.'ill' l_c_ed¢_--¥_end hays led---tc
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c"»te'd Sept._ _2§, 200-71 n '

 

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TBIS INS_TRUMENT PREPARED BY

'AND RECORD AND RETURN TO: Ap[::-.gc'\_ioojl g-,f '~ c,v~'; -' ~'_~-_.- -c.p'
wILLIAu M. HARVEY, Es_q. op_B '¢?-7"_-_/:§"";\9' .j_ -p\}'_,-*_~`_~." ""'i ' U
Harvey' Waddell & Monsh-'=\n l lmmuumm!_imiim

101 North J Street

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L k W th FL 33460 ‘k ' ~ \ l ~-
Pj°;;rt;§ppéai“r,d P cal ooRoTHY H. lamm cum re- coum§ H_

ID Number238¢43- 4- 9-05-000-0 .70
Grantee's Tax ID Numberx
11 A R R A N T Y D E E D

Ihis Ix:denture, made thin .|.“§ .d_ay of NE?KLLR~, A.x$_". `i'§', (tw`@`o_on

  
 
   

DQROTHY w. ALLEN, an unremarried widow, surviv1ng _s
cHARLES H. ALLEN, Deceased, Grantor‘,

and

HICHAEL H. PHILLIFS

Worth, FL 33461
Granteel.

whose post office address is 2520 Lake OSbOl’-T!€ DriVer

 
  
  
  
   
   

WITNESSETH: That said grantor for and §§ n derat;ion of the sum of
TEN ANn 00/100 DoLLARs ($10. 00) and other valuab]__. oo' erations to said gr_a'_ntpr
in hand. paid by said grantee, the receipt whe_ ereby acknowledgo_d, has
granted, bargained and sold to the said gran z antee's heirs and issig‘ns@
forever, the following described land, situ 4 ng and being in Palm -Beachc>
county, Florida, to-wit: _

   
  

~}¢@W' §§
Lot 97, LAKE osBoRNE TERRAC “’§§% cord£ng to the
Plat thereof on file in t '» e of the Clerk

" " of the Circuit Court in § Palm Beach County,
_Florida, recorded ;Ln PlK ' 25, page 21.

0’100

    
   
    
 

Subject to all restr'¢`$§jons, reservations and easements of
record and taxes `-sub \£Qn;t to the year 1996.

 

§§ warrant the title to said land, and will

and said grantor does her 4
l claims of all persons whomsoever.

defend the same against t

1"Grantor" and "Grantee re used for singular or plural, as context
" requires. '\

IN WITNESS EREOF, the Grantor has set grantor's hand and seal the day

and year first above !r`§`tten.
DOROTHY %. ALLEN

Signed, sealedy%nd d§}ivered
in the press

 

 

 

sTATE '”'F FLORIDA
coUN'rY oF PALM BEACH

THE FOREGOING INSTRI.IMENT was acknowledged before me this ig day of
/Y\M€<' ({» , n. 1>. 1997, by DOROTHY W. ALLEN, an unremarried widow,

surviving spouse of CHARLES H. ALLEN, Deceased, who is personally known
to me, and who did take an oath.

My commission Expiresx f E) - 0 \v}
' _ _M-€--_~

. Doris C. Irwm

MY COMMISS|ON l CC 343073
HHMS:RNWW6.1EB
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Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket 01/22/20_18 |z>_age 37 of 60 j

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Tl\|l holrumenl Prepued by end munn lo:

Emory C. Jorden, lll, P.A. ' /

415 Second Avenue North

Lake wonh. Flodda 33460 AUG~M-l?% 2;58Pm 94-2°?689\5
property Appreloen P¢me| ldentllcellon (Follo) Numbere: `[ 2¥8. | -(iz.£|*|c: (.?| :|9 -|-Bl :’.;?|l
384344?70104|0140 Cun 555000. 00 Doc 385. 00
armco ss 0: _ 4 '.- CLERK OFDYESTE(Y)UHT“£ PS COUNTY, FL

.A¢z mw m UNE F°R mlh|° DATA

THlS_ WARRANTY DEED..ma¢lo the 31st day ol-Auguet. A.D. 1994 by Cldra P. Cotte”£ .a elngle
person horeh celod the yonlor, to Ml¢h¢¢l M. Phllllpl, 8 \lnglé`pel’lon whose poet%`… address ls:

  
 
 
  
 
 
   

 

 

 

1 1 2 1 _S_o_ut;h Federja,]_ H:Lghway , Lake Worth .
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Pn§n Beach Counly. Sll\e of

W l T N E S S E T H: 'lhe\ the wanton lor end h oonoldorntlon ol me cu
Dolhn and other veblbb cone|demlons, neebl whereof le hereby eeknowbdged, her
mmbes, roleuec, oonveye end oonfkmo \lnlo the grantee ell \he! ceneln ind alluol

F|Qddl, vlz:

Lol F¢urleon (14), Block For¢y-elgh¢ (40), Addition
according to the Plat of Record ln Plat Book 5, plge?’§€
of the` C|erk of the Clroul¢ Court ln end for Palm B

     
 

   
    

Town _of Leke Worth, "
- ncluslve, ln the Ottlce

~ - ty, Florida.

    
 
 
     
   
   
 

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TOGETHER §ith al}; the tenements, hez:ed:i.t 1in appurtenances thereto

belonging or. in anywise appertaining.

@t:lons, limitations, easements and

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nd subsequent years.

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s ol all persons whomsoever; and that sold land ls tree ol all
" encumbmncos. emopl was eccnlhg December 31, 1993.

§. QM L.s.

Claro P. Cotler
1121 Sou!h Federol nghwly, Lake Wonh. FL 33460

 

   

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STATE 0F FLORIDA
COUNTY OF Palm Beach

 

 

 

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COMM|SS|ON NO. CC°99\OB '
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My Commlselon Expkot:

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket 01/22/2018 Page 38 Of 60 ~

|N THE C|RCU|T COURT OF THE ?/Z{/A;

FlFTEENTH JuchlAL cchulT
lN AND FoR PALM BEACH

couNTY, FLOR|DA. § g 519
clvlL AchoN.

l . A

C|TY 0F LAKE WORTH, F|orida, a Florida CASE NO.
municipal corporation,

Plaintiff,

V.

  
    
  
  
   

cHARLoTrE TAYLOR and MchAEL M.
PHn_LlPS,

Defendants.

 

THE STATE OF FLOR|DA
To Each Sheriff of the State:

YOU ARE HEREB¥ COMMAN ` rve this summons and a copy of the®
complaint or petition in this action ' ‘ '

inooo

77

LARRY A. KARNS, ESQU|RE
7 North Dixie Highway
Lake Worth, FL 33460

to file they original of said written defenses with the clerk of said court either before service

on plaintist attorney or immediately thereafter. lf you fail to do so, a default will be

entered against you for the relief demanded in the complaint or petition. \¢ w /
z¢,(\fD/VM

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f law/fait MA:AM

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Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket 01/22/2018 Page 39 of 60

' 1 - l ‘ ’¢

lN THE C|RCU|T COURT OF THE
FlFTEENTH JUD|C|AL C|RCUIT
lN AND FOR PALM BEACH
COUNTY, FLOR|DA.

ClVlL ACT|ON.

City of Lake Worth, F|orida, a Florida CASE NO.
municipal corporation, .:

    
   
  
  
   
    
    
 

    

Plaintiff, f - ‘
v. 50 20070At 3 9 xxxt ila
Char|otte Taylor and Michael M. Phil|ips, `

Defendants. t § A ‘

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TO. DEFENDANTS, CHARLOTTE TAYLOR a
OTHERS TO WHOM |T MAY CONCERN.

f\Yl‘LDlvlSloN
NOT|CE lS HEREBY GlVEN th s instituted, on the date of this Notioe, g
in the Circuit Court of the Fiftee tcial Circuit of F|orida, in and for Palm Beach` g
'.:.-:

County, by the City of Lake olrida, against Char|otte Taylor and Michael M. w

   
    
 

relating to s w nforcement Boards.

erty described is the property located at 1121 South Federa| Highway,

Lak;%oyrth, Florida, more particularly described as:

"Lot 14, Block 48, Addition No. 1 to Town of Lake Worth,
according to the plat thereof on file in the Office of the C|erk of
the Circuit Court in and for Palm Beach County, Flon'da recorded
in Plat Book 5, Pages 6 to 9, inclusive

 

 

j Case 9:18-cv-80078-WPD Document 1-2 Entered'O'nFl:SD`DUCke't'OTfZ?TZOTS-Pag€¢@'of'o@_

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as well as real and personal property of Char|otte Taylor and Michael M. Phil|ips, except real
property of these defendants which is a homestead under Section 4l Artic|e X of the

Florida State Constitution.

oATEDthss ;). ¢Aj day ofm¢a¢‘a,L_ 2007.

LARR¥ A. KARNS

7 North Dixie Highway
Lake Worth, Florida 33460-378
(561) 586-1631

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Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket 01/22/2018 Page 41 of_ 60

VER|F|ED RETURN OF SERV|CE

State of Florida County of Palm Beach ‘ Circuit Court
Case Number: 50 2007 CA 13909 XXXX MB Al

Plaintiff: ,
C|TY OF LAKE WORTH ‘ ,

VS.

DefendantS:
CHARLOTTE TAYLOR and M|CHAEL M PH|LL|PS

 

 

 

For:

Larry A Karns Esquire

C|TY OF LAKE WORTH - C|TY ATTORNEY
7 North Dixie Highway

Lake Worth, FL 33460

  

Received by RD STROHACKER lNVESTlGATlONS on the 21st day of August, 2000 §§th am to be served on

M|CHAEL M. PH|LL|PS, 7730 N.W. 50 STREET APT. 107, LAUDERH|LL, FL 333( .

 
  
 
   
   
     
   

l l, Edward A Shapiro, do hereby affirm that on the 25th day of September, _ 6.3 pm, |:

lNDlVlDUAUPERSONAL: served by delivering a true copy of the S , "
EXH|B|TS and NOT|CE OF LlS PENDENS to: M|CHAEL M. PHl
STREET APT. 107, LAUDERH|LL, FL 33351 with the date and st
informed said person of the contents therein, in compliance `tWRs

1 ice endorsed thereon by me, and
atutes.

 

ter»t in the above action. l have been properly cert ed
rrent|y certified to serve process pursuant to the .
enalties of perjury, l declare that‘l have read the fore<_: citing
re true and correct." NO NOTARY REQU|RED PURSUANT

as a process server by Administrative Order 88
provisions of the order. `Pursuant to F.S. 95.52
Verified Return of Service and that the facts m
TO F.S. 92.525(2)

 

 

 

'~E'av/vard A Sh§piro / 0
S.P.S. # 696
RD STROHACKER lNVESTlGATlONS
1111 Crestwood Boulevard
Suite A
Lake Worth, FL 33460

(561) 588-1802 ’
Our Job Seria| Number: 2007001805

Ref: 1394 LkWorth/Tay|or,Char|otteSIPhi|Ips,Mi

Copyrighl©1992~2006 Dalabase Se.»rvi¢:esl |nc. - Process Server's Too|box V6,1b 0”/6/NA

 

y Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket 01/22/2018 Page 42 of 60

  

|N THE C|RCU|T COURT OF THE '
FlFTEENTH JUD|C|AL C|RCU|T
|N AND FOR PALM BEACH l
COUNTY, FLOR|DA.
ClVlL ACT|ON.

C|TY OF LAKE WORTHl Florida, a F|orida CASE NO.
municipal corporation, §§
resin 1300

~"0 'r G"
Plainrifr, §§ 213

v. clvn_ Acho t

  
 
 
  
  
 
 
    
  
 

CHARLOTTE TAYLOR and M|CHAEL M.
PH|LL|PS,

Defendants

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‘~a) '

 

THE STATE OF FLOR|DA
To Each Sheriff of the State:

YOU ARE HEREB¥ COMMAN
complaint or petition in this action o

M. PH|LL|PS
}50"‘ sTREET, APT. 107
erhill, Florida 33351

 

 

 

 

 

 

  

Each defenda ;is he required to serve written defenses to said complaint pr
petition on plaintist §Wn§ey
is
LARRY A. KARNS, ESQU|RE

 

 

 

7 North Dixie Highway
Lake Worth, FL 33460

vvitliim‘€° days after service of this summons upon you, exclusive of the day of service, an d
to file th%*”original of said written defenses with the clerk of said court either before servi¢:

on plaintist attorney or immediately thereafter. lf you fail to do so, a default will be
entered against you for the relief demanded in the complaint or petition.

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OH/G/NAL

 

 

 

 

vCase 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket 01/22/2018 Page 43 of 60

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W|TNESS MY HAND AND SEAL Of Said Court.

 

Dated on

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 9:18-cv-80078-Wl-’L) Document I-¢ F:ntered on FLSD Docket 01/22/2018 Page 44 of 60

IN THE CIRCUIT COURT OF THE FlFTEENTH JUDICIAL CIRCUIT IN AND
FOR PALM BEACH COUNTY, FLORIDA.

CIVIL CASE NO. 50 2007 CA 013909 XXXXMB AI

CITY OF LAKE WORTH, Florida,
a Florida municipal corporation,

Plaintiff,
v.

CHARLOTTE TAYLOR and
MICHAEL M. PHILLIPS,

 

Defendants

 

  
   
  
   
    

AMENDED COMPLAINT TO FORECLOS 5 5 NFORCEMENT LIENS

Plaintiff, City of Lake Worth, Flori
the defendants, CHARLOTTE TAYLO "

rfda municipal corporation, sues
after “Defendant Taylor”) and
ndant Phillips”), and alleges as

  

follows:
ALLEGATIONS

l. This is an action to 5lose Code Enforcement Orders on real and
property pursuant to ter 162 F.S.).

     
 

2. The p
County, Fl _,

   
 

rporation located in Palm Beach County, Florida.

4. It has become necessary for the City to prosecute this action through the
undersigned counsel. Defendants Taylor and Phillips are obligated by virtue of
the provisions of Section 162.10, Florida Statutes, to reimburse the City for these
expenses

 

 

_CJSF§IB=CV=BUU?B=WPD'_DIMEntered on FLSD Docket 01/22/2018 Page 45 of 60

5 . Defendant Phillips may claim an interest in the property by virtue of that
certain warranty deed in Official records Book 8409 at Page 849 of the Public
records of Palm Beach County, Florida. Such interest is inferior to that of the
Plaintiff. `

6. Defendant Taylor may claim an interest in the Property by virtue of those

certain Claims of Lien recorded in Offlcial Records Book 10680 at page 674 and in
Book 10704 at Page 49; by virtue of that certain Sheriff's Deed recordeo... 5
Oft`lcial Records Book 14078 at Page 1806; by virtue of that certain ’
Pendens recorded in Official Records Book 20566 at Page 1221; a
that certain Final Judgment recorded in Ofticial Records Bool/;%lgl
and in Book 11319 at page 1861. Such interest is inferior to .at of

 
 
 
  
 
  
 
 
 
 
  
   

7. Any claim or interest of the Defendant in the su '
that of the Plaintiff.

8. The Plaintiff realleges and restat
above.

9. At all relevant and materi& ,
property located at 1121 Sou 5
particularly described as 500

(her§i}` w ‘Board”), entered an Order Finding Violation and lmposing Fine,
finding Wefendant Phillips, the then owner of the Property, in violation of
numerous provisions of the City of Lake Worth Code of Ordinances as described
in the Order. This Order provided that Defendant Phillips was to correct the
violations by no later than September 15, 1999. A copy of this Order Finding
Violation and lmposing Fine is attached to the Complaint as Exhibit A.

 

 

 

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11. A certified copy of the Order Finding Violation and lmposing Fine has
been recorded in Official Records Book 11334 at Page 544 of the Public Records
of Palm Beach County, Florida.

12. The Order Finding Violation and lmposing Fine provided for a fine of
3150.00 per day for each and every day the violations continued to exist after
September 15, 1999. 1a

  
   

13. Defendant Phillips failed to comply with the above Grder Findin
and lmposing Fine within the time period contained in the Order. ‘
14. Accordingly, on September l7, 1999, the Board entere§$aa$
lmposing Fine/Lien. A copy of this Statutory Order Imposin ”,Fine

attached to the Complaint as Exhibit B.

 
 
  
 
   
    
  

15, The Statutory Order lmposing Fine/Lien fun/11

inspection fee of $150.00.

16. A certified copy of the Statutory, , _ posing Fine/Lien has been
recorded in Offlcial Records Book ` age 406 of the Public Records of
Palm Beach County, Florida.

1. Defendant Phillips fai ‘ v ply with the above Code Enforcement Orders
and thus fines accumulate q ndp these Orders. Defendant Phillips has permitted
the property to be in violati §§hroughout this period of time.

 
  

18, There 1s ( s 0 and unpaid to the City of Lake Worth a total sum of
$487.550.00 pi§I erest, costs and attorney’s fees computed at the rate of $150.()0
a day in a o n e with the Orders described in Exhibits A and B.

  
 

19. “ lolations of the City of Lake Worth Code of Ordinances occurred on
the Property as described in paragraph 4 above, which at the time was owned by
Defendants Phillips. Accordingly, the recording of the certified copies of the Code
Enforcement Orders in the public records constituted a lien against the above-

described real Property, and against any other real or personal Property owned by
Defendant Phillips.

 

 

 

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket 01/22/2018 Page 47 of 60

WHEREFORE, plaintiff, City of Lake Worth, Florida, respectfully prays
that this Court grant the following relief:

(a) Take jurisdiction of this cause and the parties;

(b) Adjudge that plaintiff has a lien on the real Property described in paragraph
8 of the Complaint for the amount of $487,550.00 plus interest, costs and

reasonable attorney’s fees superior to the rights of Defendant Phillips and fit
persons claiming by, through or under them, and require payment of thi

 
 
    
 
  
   
  
  
  
  
 

( c) Adjudge that plaintiff has a lien on the real Property descri `aragraph
8 of the Complaint and upon any other real and personal fendant
Phillips, superior to the rights of the Defendants and all pers gs cla ming by,
through or under them, and require payment of this ba lu§§ interest
reasonable attorney’s fees, court cots and expenses v §

(d) Enter an order permitting the foreclo ity’s lien against the
subject Property and of any other real and pi t »
' 09(3) F.S., and order a sale of

not satisfy the amount of the

o foreclose the subject lien against the
Defendants and award rea :abie attomey’ s fees to the City;

 

Taylor v §Greenpoint Mortgage Corporation and Michael Phillips (Case No. 50
1999 CA010548 AN) in the Circuit Court of the Fifteenth Judicial Circuit m Palm
Beach County, Florida (the Greenpoint” case).

21. Judge Winikoff conducted an evidentiary hearing in that action on July 13,
2005 concerning the subject of the priority of the City’s code enforcement liens.

_CHS'G'§'!TS'-'CV:'SO'OWWP’D_`DUCUTTTEFTI"I_-Z Entered On FLSD DOCket 01/22/2018 Page 48 Of 60

All interested parties were at the hearing and in particular Michael Phillips and
Charlotte Taylor as recited in the order.(copy attached as Exhibit C).

22. The Greenpoint trial court found that the City of Lake Worth had recorded in
the public records of Palm Beach County certified copies of the code enforcement
orders against Michael M Phillips on September 7, 1999 and on October 1, 1999.

e“”§ ode

23. The Greenpoint trial court also found, that as a matter of law, that t
enforcement orders were liens against the property beginning Septemb

accordance with section 162.09(3) F.S.

  
 
 

24. The Greenpoint trial court further found that City’ s lien§ ay ffect at the
time of the hearing and that the liens were unpaid and not sat%fled§ The court

further found that as of April 1, 2005 the liens had acc thi;§@:mount of
$303,600.00.

 
  

25. Additionally, the Court found that the City ibi§>i e§s*ilpon the property were in
effect prior to the claim of Defendant Charl r and that the City was
entitled to any surplus from the sale fr the y as a result of the quiet title
action.

     
    
  
   
 
 
  

=.-S

26. Judge winikoff directed staff
from the sale of the property a

the court to disburse the surplus funds
ey be paid to the City of Lake Worth,

m Morrg Coip., 939 So 2d 137,F1a 4"‘ DCA 2006
hel that Taylor failed to timely appeal Judge Winikoff’ s order

 
 

29. lj§%g the untimely appeal, the Greenpoint was assigned to trial Judge

h§entered an order on September 12, 2008 directing the Clerk of the Court
to pay the remaining surplus funds form the sale of the property ($138,100) to the
City of Lake Worth, (copy attached as Exhibit D). After Taylor’s unsuccessful
appeal of Judge Fine’s order of September 12, 2008, Judge Fine enter an order on
April 21, 2010 again direct the Clerk of tile Court to disperse the surplus funds to
the Plaintiff (copy attached as Exhibit E).

 

 

 

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30. The above referenced Orders of this court have not been modified or altered
by the appellate court and the judicial labor of all courts relating to subject Orders
Order of has come to a definitive end and it is unequivocal that the Clerk of the
Court has been directed to turn the subject funds over to the City of Lake Worth.
The Clerk has issued a check in the amount of $138,100 to the Plaintiff as directed
(copy attached as attached as Exhibit F).

31. The plaintiff believes that Defendants Phillips may own other real
personal Property located in Palm Beach County, Florida, or elsewh erefore,
this action is also brought pursuant to the provisions of Chapter 16 .
Statutes, to foreclose on the Code Enforcement Orders, and thuRp` '

   
 
 
 
 
 
 
  

§»,,, or

 
 

described 1n paragraph 4 above, as well as upon any o
Property owned by Defendants Taylor or Phillips. D §

2002,

WHEREFORE, plaintiff, City of §§
that this Court grant the following religi’lt

(a) Take jurisdiction of this o

(b) Adjudge that plain?ffli
4 of the Complaint for th
judgment of July 18, 005 1 aylor v GreenPoint et al (Case No.50~1999-CA-

sts and reasonable attorney’s fees and that such lien is

 

 
  
 

superior to the{
them, and 'r aayment of this balance.

  
   

plaint and upon any other real and personal Property of Defendant
Phillips, iR§s`bfor the amount of $164, 900 plus interest, costs and reasonable attomey’ s
fees, superior to the rights of the Defendants Phillips and Taylor and all persons
claiming by, through or under them, and require payment of this balance plus
interest, reasonable attorney’s fees, court cots and expenses;

 

 

 

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(d) Enter an order permitting the foreclosure of the lien against the subject
Property and of any real and personal Property of Defendant Phillips in accordance
with the provisions of Section 162.09(3) F.S., and order a sale of said Property in
the event that the Defendants Phillips or Taylor do not satisfy the amount of the
lien owed to the City in this action, and award a deficiency judgment against
Defendants in the event the Property is not of sufficient value to satisfy the lien of
the City;

 
   
 
   

(e) Tax all costs of this action against the Defendants, and award on.. e
attomey’ s fees to the plaintiff;

 

ila .

z

(f) Grant such other and further relief as may be just anda€§u

   
 
  
  
 
   
  
     

COUNT III

32. The Plaintiff realleges and restates paragra a 7 set forth herein

above.

33. By Sheriff’ s Deed on June 4, 20
of real property located at 1121 South
more particularly described as foll

ne ant Taylor became the owner
v ghway, Lake Worth, Florida,

LOt 14, BlOCl< 48, Addit'@?i
to the Plat thereof, re Qr¢§
the Off“lC€ Of the Ci uit §

).

" the City of Lake Worth Special Master (hereinafter

gm Order Finding Violation, finding Defendant Taylor in

erous provisions of the City of Lake Worth Code of Ordinances as
d`> _.; Order. This Order provided that Defendant Taylor was to correct
the fiol§tlzdhis by no later than July 5, 2004. A copy of this Order Finding
Violatidh is attached to the Complaint as Exhibit G.

, o Town of Lake Worth, according
k Plat Book 5, Pages 6 to 9, inclusive, in
urt in and for Palm Beach County, Florida

 
  
  
 
   
 

34.

35. A certified copy of the Order Finding Violation has been recorded in
Official Records Book 17103 at Page 1775 of the Public Records of Palm Beach
County, Florida.

 

 

 

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36. The Order Finding Violation provided for a fine of 3100.00 per day for each
and every day the violations continued to exist after July 5 , 2004. The Order
further provided that Taylor was to pay administrative prosecution costs of
3281.53 and a mandatory inspection fee of $150.00.

37. Defendant Taylor failed to comply with the above Order Finding Violation
within the time period contained in the Order.

   

38. Accordingly, at a subsequent time, the Master entered an Orde
Fine. A copy of this Statutory Order lmposing Fine/Lien is attache
Complaint as Exhibit H.

39. The Order Assessing Fine further provided that De n /
administrative prosecution costs of $337.23,

 
  
   
  
  
   
    
 
 
  
  

en recorded in Official
ds of Palm Beach County,

40. A certified copy of the Order Assessing F
Records Book 17508 at Page 1782 of the Pu
Florida.

_ the above Code Enforcement Orders
~ ers. Defendant Taylor further did not

f $618.76 or the mandatory inspection

-. c ers. Defendant Taylor has permitted the

41. Defendant Taylor failed to c
and thus fines accumulated unde __
pay the administrative prosecu
fees of 3150. 00 as required
property to be in violation

42. Subsequent to ‘
lmposing Fine/L'en r need above, the Defendant Taylor first occupied the

    
   

property in Ju& 200 based upon her sworn affidavit attached to her application
for homes/sga ymption for the property located at 1120 South Federal Highway
in Lake@, ' orida.(copy attached as Exhibit I).

    

43. RA`V itionally, Taylor’s application for the year 2005 was denied by the Palm

Beach County Value Adjustment Board A copy of the Order denying the
homestead exemption is attached to the Complaint as Exhibit J.

44. There is now owing and unpaid to the City of Lake Worth a total sum of
$242,468.00 plus interest, costs and attorney’s fees computed at the rate of $100.00
a day in accordance with the Orders described in Exhibits G and H. There is

 

 

 

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further owing and unpaid to the City of Lake Worth administrative prosecution
costs of $618.76 and mandatory inspection fees of $150.00.

45. The violations of the City of Lake Worth Code of Ordinances occurred on
the Property as described in paragraph 4 above, which is owned by Defendant
Taylor. Accordingly, the recording of the certified copies of the Code
Enforcement Orders in the public records constituted a lien against the above~
described real Property, and against any other real or personal Property o fci by
Defendant Taylor in accordance with the provisions of Section 162.09 ' `
Statutes.

   

46. The plaintiff believes that Defendants Taylor may own ah or personal
Property located in Palm Beach County, Florida, or elsewhere,!

      
 
    
   
 
  
   
  
 

action is also brought pursuant to the provisions of Chapter 209 Florida
Statutes, to foreclose on the Code Enforcement Order us plaintiff is
requesting that this Court permit plaintiff to forec e real Property

described in paragraph 31 above, as well as up r real and personal

Property owned by Defendants Taylor or Phi ’

WHEREFORE, plaintiff, City of
that this Court grant the following re

j rth, Florida, respectfully prays

(a) Take jurisdiction of thisaaa the parties;

(b) Adjudge that plaintiff ien on the real Property described in paragraph
4 of the Complaint for th nt of $242,468.00 plus interest, costs and
reasonable attorney’s’i ~ ' s s perior to the rights of defendants and all persons

claiming by, thr gh der them, and require payment of this balance.

 

 

   
 
 

( c) Ad` t plaintiff has a lien on the real Property described in paragraph
4 of theJC‘ p nt and upon any other real and personal Property of Defendants

,, ps, for the amount of $242,468.00 plus interest, costs and
reasona@e attorney’s fees, as well as administrative prosecution costs of $373.23
and mandatory inspection fees of $150.00 superior to the rights of the Defendants
and all persons claiming by, through or under them, and require payment of this
balance plus interest, reasonable attorney’s fees, court costs and expenses;

(d) Enter an order permitting the foreclosure of the Property and of any real
and personal Property of Defendant, Taylor in accordance with the provisions of

9

 

 

 

 

 

Case 9:18-cv-80078-WP[T Document 1-[ Entered on FLSD Docket 01/22/2018 Page 53 of 60

Section 162.09(3) and order a sale Of said Property in the event that Defendant
Taylor does not satisfy the amount owed to the City in this action, and award a
deficiency judgment against Defendant Taylor in the event the Property is not of
sufficient value to satisfy the liens of plaintiff;

(e) Tax all costs of this action against the Defendant Taylor, and award
reasonable attorney’s fees to the City;

  
 
    

(f) Grant such other and further relief as may be just and equitable

VALIDITY OF THE DEBT WHICH PLAINTIFF IS
COLLECT IN THIS LAWSUIT.

CERTIFICATE O

l HEREBY CERTIFY that a copy
Michaei M. Phillips, 7730 Nw 50th sir
Charlot Taylor 1121 South Federa

egoing was furnished to:
07, Lauderhill FL 33351, and

       

10

 

 

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket 01/22/2018 _P_a_ge 54 of 60

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TMMM / \/ CTTY op m mm m
wime

- QMFIRDIH} VICEATIGKAIDI|‘DOSIHGFDE

ms xo. sen-oo321
llano and Address of Service=

Michael n rhillips
2290 Sunset. xvemae
Lake Worth, FL- 33461

In regard to:

hot ld, Block 481 ADDITI[N 81 TO THE m OF LAKE WDRIR, according to
the Plat afm PALHBELCHHHHS mm PLATRO. 4. recorded in the
public records of Palm Be¢ch County, Florida in Plat Book 5, Pages 5-9
inclusive elk/a 1121 South Federal Higznray.

RE: Violaticn 01 Code Sectiuuht) :

SHC¥¢ 104.2.21»1€5¥$¢ 3m FOR m PRQPB`RT!
BCKIB 104.1.1 § IUS.S'PKIHITS, I'RSPBCI'IUS
BCBAB 104.1.1 & lo§.€m'$, I!!SPECII@B
SHC 302.6!1'1!§!!¥ FACILI'I'IES

site 304an mmmmrrs me umw sr
SHCR 307.4(1?3 0¥ PRMSES

     
    
    
   
  
   
  
   
    
  
 
 
 
 
 
 
 
 

This matter was heard at a public hearing before :
011/26/99, after due notice co the vinlm:cr(s) and _ Board

having heard cescimny under oath, received -ce, and heard
a of counsel tit any). makes cha fo s ram or
mc.'r.‘ .cunt:imlms oF~ m ana ozm=

I. FINDINGS 0¥ m

1. The numer(s) of elm above des»

Michael H Phillips. hereaft.
violntcr{x) .

2. The violatorts) was ( -
and hearing under FS
to correct same. The

within the all-
3. 'That the above .-

ultvera) given reasonable nine
failed co correct said violations (s)

property m in violation of tahose
Lake worth Code as stated above.

incurred costs in the ammt: of $AQ[].
ecut'_i.ngthiscase. 'D'D

depth code Enforcement Board hereby finds the violator s
vlolati.ng the above referenced code sections. t 1

°Pag€lon-

 

 

lli. unum
rt istheo mo£thisnoardthatthaovoer(s)
Michael H rnillips comply \r.i.th those sections ot the
lake worth city code\s) listed above, by oorrect:‘ each and every
violation specifically listed by 3:00 pa on °l/!S`/ q .

rt nichael vt rhillips. do(es) not oo\i'ply by the date
and time specified cr once again violates the code section(s) an
listed above following the time set for ompliance herein, said

amex-(a) shell pay a fine in the noo\mt at $|50»00 per day for
each and every day the violation(s) continue to e:dst.

If a finding of violation has been mae as provided in Section
162.09,Florida Statutes, a hearing shall not be necessary for
issuance ct theordez' immingcucha fim. THEBUMJRN SHALLR!ST
mmumts) Toumns'rxnmcnmronmmmm
1118 VI°LATIU(S) HAS/HLVB m m D\'!O CCHPLIARCR.

In addition to the daily fine set forth above, you are hereby
o , pursuant to section 2-69¢¢:) of the City of Lake Wo

Code md chapter 162 of Florida Statute¢, as may he amended o
pay prosecution costs to_ the city of Lake worth in the miami

$ mf].gg.'z'hieamuntisdueandouingasof the
of thicozder.

Case 9:18-c\$80078-WPD Document 1-2 Entered on FLSD D_o_c_k_et QJ.[ZZL?.O.lS__PaQe 55 pf 60

   
  
 
  
    
  
   
     
 
 

The Board further orders Michael ll Phillips to make

the mandatory $150 . 00

xrr. mm or cum
The Code Enforcement Board secretary is -‘?`j»
record a certified copy of thin Order »
of ~valn Beach County and any other
such Order shall constitute notice »
successors in interest, or ass -
real property and the f »-
the violator(s} and, if the

necessary, and

.. '- .ba binding upon
~(s) concern real property,
&ssot's in interest, or assigns.

    

__ . _ _
7 north Dixie Highway
Lake North, Fl» 33&60
(407) 586-1652

 

 

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. `O /,'.‘ .‘.` ' »

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`, ,cl , '-'-z . _; '

- "" `-¢ 1~ \ :-'~
- » . - .Z.- o
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*/O }¢ . s

1 HEREBY m.I'IFY that a
forgoing anmos or nicr,
£o.zmin ed by U.S Hlil to
this day of

true and correct copy of the above
C_XHICLUSIMIS Ol' LAW, m OXDBR has been
Michael ll Phillips.
1993.

y ly. Board Secretary
7 North Dixie Highway

Lake Worth, FL 33460

(561) .5&6-1652

'pagez°fz'~

 

 

 

 

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can No. 99$~ ~003¢2); ch M;¢._.uxn=c¢ 4sas-a'slsv¢\»~)
l '" mount 33 ° p¢‘

um¢a,

Michael M phillips |-l.'. n

2290 sunset Avenuu n l llllllII-n'm
Lake Worth, Fb 3346!.

IRRDGAR.DSTC:

1121 S Federal By
Lake Worth, FL 33460-5241

'rhiu utter uasheatd ut n public hearing of the Code Enforcement
Board on 08/26/99, after due notice. at vhich tim the anrd hen
testimony under oath. received evidence, and issued its FIRD v \_ ¥A »

CO!|G.US!CN$ OP LA||, AND DRbBR, which was reduced to writing
furnished to Michael M Phillips by mill on

Said Order required you to take certain corrective acti ~
specijicd datc. al more specifically set forth in that o

An L£ idavit of NQ|-MLIMIER dated §l£&|!§xg hug
the Code Inspector. which affidavit certifies

corrective action m not taken by the specified dao as
Accordingly, it having been brought to the 1

   
   
 

 
 
 

  
   
 
  
     
  
   
 
  
  
   
 
    

» attention that
you have failed to candy try the date specified in )Md order. it is d
hereby.
woman that Michael n Phillips pay to th of Lake
worth a FIHB in the amount of $ 150.0 for every

day in violation past 9 /l$RQ, which is
said Order. for the property known aa= _

hot 14, Block 48. AD!JITIGR ll 'ro
the Flat of THE DM.!| BEACH l' ‘ ~
public records of Paln leach

inclusive a/k/a 1121 South b

AND an holmme PRQSB
fee of $150.00 for mandat
the above cssc.

h certified copy of
of Falm Beach County,
against the above~- '

b 9 mm HOR'I'K. according to
v ~PL`A'I' !\O. 4, recorded in the
‘“l'lorida in Plat Book 5. Pages 6- 9

st of' $ ggg.u_ along with a

 

orceo\sot Board
7 North Dixie nigh'a

Lake Ho!.'th, ¥l 33&60
(561) 506-1652

r »
. . `
Attelt. :

§ecrotnry, Oodo Kn£orcmcnt Board

 

 

I hereby certify that a true
Order hac bean tunishod

Michael ll Philli , U. .
hil this 333., day o£§¢g¢é¥_, 1.99§_" by s

and correct copy of thc foregoing

 

 

 

 

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docket'Ol/22/2018 Page 57 of 60

 
 
 

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1 120 2000 Frr-'rEr-;NTH JuolciAL ochurT m
“JL AND FoR PALM BEACH couNT¥.
1 1 _ FLOR|DA.

t__§ii:i:t:i@rtw€\'

CHARLOTTE TAYLOR,

CASE NO, 501999 CAO10548 AN

Plaintiffl

 

 

V.

  
 
  
  
 
 
 
 
   

GREENPO|NT MORTGAGE
CoRPoRATloN,.et ai,

Defendants. /

ORDER REV¢K|NG AND RESC|NDlNG ORDER D|R ’ t
SURPLUS FUNDS DlRECTiNG PLA|NT|FF NO
CHECK AND TO RETURN SUCH CHECK
DiRECTlNG CLERK TO D|SBURSE SUR
WO "\

 

 

thetC§urt makes the following findings:

§
1. The Order entered by the Court on June 16, 2005, directing the C|erk to disburse

any remaining funds in the Court’s registry to Chariotte Taylor was entered in error and was

void in that the Order was entered without an evidentiary hearing and without any hearing

Exhibit
6

or notice to the parties.

 

 

 

base s.ias-CV-duu /o-vvl-'D Docur_neni 1-2 Entered On FLSD DOCl<et 01/22/2018 Page 58 Of 60

2. The City of Lake Worth recorded in the public records certified copies of Code
Enforcement Orders against Michael M. Phillips on September 7, 1999, and on
October 1, 1999.

3. The property that is the subject of this action was titled in the name of Michael

    
     
     
     
   
   

Phillips on September 7, 1999.

4. By virtue of the provisions of Section 162.09(3), Florida St Code

Enforcement Orders were liens against the subject property beginnj -'~""- eptember 7,

§§
1999.
5. The Code Enforcement Orders remained in eff th;`t me of the hearing. The
amount of the City of Lake Worth’s liens as of Apri § as $303,600.00. These liens
are unpaid and not satisfied v

6. The claimed basis for Plain ` e Taylor’s, lien on the subject property,

Jug\g j - y e Plaintiff, Charlotte Taylor, did not become a lien upon the subject property.
See%l”ott |nteriors. lnc. v. Fostocl<. 721 So.2d 1236 (Fla. 4th DCA 1998); MA¥
& 'l“ittle P.A., 777 So.2d 1055 (Fla. 4th DCA 2001).

 

9. The City of Lake Worth has prior liens upon the subject property and is entitled
to the surplus funds before the record owner of the property. United States v. Sneed, 620

2

 

 

 

Case 9:18-cv-80078-WPL) L)ocurrrent 1-2 Entered on FLSD Docl<et 01/22/2018 Page 59 of 60

lN THE ClRCUlT COURT OF THE
FlFTEENTH JUD|C|AL ClRCUlT |N
AND FOR PALM BEACH COUNTY,
FLOR|DA.

CASE No. 501999 cA010548 AN

ll \v/ i.-; r:'

CHARLO`ITE TAYLOR,

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Plaintirf, iq `

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V.
41 350 15 2000

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GREENPO|NT MORTGAGE
CORPORAT|ON, et al,

'0~~, ,»,1-;-_¢'<

Defendants /

ORDER ON ClTY OF LAKE WORTH’S MOTION _

advised in the Premises,
ir is HEREuPoN,
oRDERED. AN%D A

GRANTED. : `

    
 

£§d Comptroller shall release surplus funds of $138,100.00 less any

‘ .. ity of Lake Worth care of Larry A. Karns, City Attomey, at 7 North Dixie

` Exhibit

 

 

 

 

 

Case 9:18-cv-80078-WPD Document 1-2 Entered on FLSD Docl<et 01/22/2018 Page 60 of 60

DONE AND ORDERED in Chambers, at West Palm Beach, Palm Beach County,

Florida, this day of September, 2008.

SEGNED 81 DATED
SE? 12 2008

   
 
 
     

Charlotte Taylor, 1121 South Federal Highway, Lake Worth, F
Michael Phil|ips, 7730 NW 50th St., Apt. 107, Lauderhill, Flo `
Sharon R. Bocl<, Clerk and Comptroller, 301 North Olive
Beach, FL 33401

